Case 4:12-cv-01465 Document 31 _ Filed on 09/06/12 in TXSD Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
DOMINIC WHITE, §
DERIVATIVELY ON BEHALF OF §

ATP OIL & GAS CORPORATION, §
§
Plaintiff, §
§

vy. § CIVIL ACTION NO. 4:12-1 £45
§
T. PAUL BULMARN, et al., §
§
Defendants. §

ORDER
The Court has been advised that ATP OIL & GAS CORPORATION is under the protection
of the automatic stay in Bankruptcy. Accordingly, the captioned case shall be
ADMINISTRATIVELY CLOSED. The parties are granted leave to move to reinstate the case on
the Court's active docket at such time in the future as the parties deem appropriate. A copy of this
Order shall be attached as an exhibit to any motion to reinstate.
The Clerk shall enter this Order and provide a copy to all parties.

SIGNED on this the day of September, 2012, at Houston, Texas.

(er LD.

VANESSA D. GILMORE
UNITED STATES DISTRICT JUDGE

